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                                              UNITED       STATES           DISTRICT        COURT
                                                  DISTRICT           OF NEW         JERSEY


UNITED        STATES               OF AMERICA,


V.

                                                                             Criminal       No. 21-524    (JHR)
JOHN       GRIER,           Ill,
                                                                             DEFENDANT'S            BRIEF    RESPONDING            TO
         Defendant                                                           THE     GOVERNMENT'S            MOTIONS        IN
                                                                             LIMINE     AND      MOTION     FOR
                                                                             RECIPROCAL            DISCOVERY


                                                  PRELIMINARY                ST ATEIVIENT


           A great       deal       of the Government's              Memorandum             of Law in support     of its Motions


In Limine         is based         on nothing     other       than   pure     speculation       and conjecture    of what    it


fears    may happen                at the time    of trial.     This   Court       should     not deal with theoreticai


scenarios.         The       Federal     Rules     of Evidence         are in place          to address   concerns      of both


sides    as they       occur.


           This     Brief      will respond       to the points        raised      by the Government,         but not


necessarily         in the same          order.




                                                                        I
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                                                   LEGAL      ARGUMENT

                                                            POINTI

           THE GOVERNMENT'S                   MOTION AND MY OFFICE'S EMAIL FORWARDING
            DEFENDANT  GRIER'S                 EXPERT REPORT CROSSED   ON THE INTERNET
                                                     HIGHWAY.

            The Government's               Memorandum        of Law in Support          of its In Limine       Motions         was

forwarded       to my office on 5:27 PM on August                      19, 2022.     (See Exhibit         A). At 5:36 PM on

that same day, my office                sent our expert      report to the Government.                   (See Exhibit       A).      At

the time, my Paralegal              was under the mistaken               belief that expert       reports     were     uploaded

to PACER        in addition       to being forwarded         to the Government.                Out of an abundance                of

caution,      my office       re-sent   our expert       report to the Government              while finalizing       this Brief.

(See Exhibit        B).     The Government          acknowledged           receipt   of thereport          and indicted        its

Motion      was drafted        prior to receipt      of same.         (See Exhibit     C and Footnote          9 of Moving

Brief).

            Thus,   the Government's            Motion     to bar Defendant          Grief's    expert     report    should        be

rendered       moot.       However,        they have not formally          withdrawn      that aspect        of their Motion.

They have likewise             not subsequently          moved        to bar Defendant         Grier's    expert     report.      As

a result,     Defendant        Grier posits      the following.        The Federal      Rules      of Evidence        are

strictly    construed       to ensure       that experts    testifying     in court present        opinions        supported           by

a methodology             or qualitative     analysis.     The Rules state:

                     If scientific,    technical,   or other specialized       knowledge      will
                    assist the trier of fact to understand                the evidence      or to
                    determine       a fact in issue, a witness qualified as an expert by
                    knowledge,         skill, experience,    training,     or education,     may
                    testify thereto in the form of an opinion or otherwise,            if (1) the
                    testimony        is based     upon sufficient     facts or data, (2) the
                    testimony       is the product of reliable principles       and methods,




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                     and       (3) the witness             has     applied        the    principles       and       methods
                     reliably       to the facts         of the case.


F.R.E.     702.


           The Supreme             Court       has interpreted            these      rules     and stated:


                     [U]nder        the Rules           the trial judge         must     ensure       that any and all
                     scientific       testimony          or evidence            admitted       is not only          relevant,
                     but reliable.The                primary      locus        of this obligation         is Rule         702,
                     which        clearly     contemplates            some        degree       of regulation             of the
                     subjects        and theories            about     which       an expert          may testify.


Daubert      v. Merrell        Dow       Pharmaceuticals,              Inc.,      509     u.s. 579,       589 (1993).              The


Supreme       Court      laid down           a framework           for review:


                     Faced        with      a proffer     or expert         scientific       testimony,         then,      the
                     trial judge         must    determine           at the outset,           pursuant      to Rule
                     I 04(a),      whether          the expert       is proposing            to testify    to (1 )
                     scientific       knowledge           that    (2) will assist          the trier of fact to
                     understand             or determine          a fact       in issue.      This    entails       a
                     preliminary            assessment           of whether         the reasoning              or
                     methodology              underlying         the testimony             is scientifically            valid
                     and of whether              that     reasoning          or methodology             properly           can
                     be applied           to the facts         in issue.       We are confident             that federal
                     judges       possess           the capacity       to undertake             this review.             Many
                     factors      will bear         on the inquiry,            and we do not presume                      to set
                     out a definitive           checklist        or test.       But some        general
                     observations             are appropriate.


ld. at 592.       The   Supreme             Court     then     identified        four factors:


                     Ordinarily,          a key question           to be answered               in determining
                     whether        a theory         or technique            is scientific      knowledge               that
                     will assist         the trier of fact will be whether                     it can be (and             has
                     been)      tested...       Another          pertinent       consideration            is whether
                     the theory          or technique            has been         subjected          to peer        review
                     and publication...              Additionally,             in the case       of a particular
                     scientific      technique,           the court        ordinarily        should     consider           the
                     known        or potential          rate of error...          Finally,     "general
                     acceptance"             can yet have           a bearing           on the inquiry


Id.    at 593-594.




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            The      Supreme          Court's      decision         in Daubert           pertained        only to scientific           expert


testimony.           However,         the Supreme             Court     later expanded                 this ruling      to apply       to all expert


testimony:


                        In                  , this Court       held that Federal                Rule     of Evidence
                        702 imposes              a special      obligation          upon       a trial judge       to
                       "ensure        that any and all scientific                   testimony...is             not only
                        relevant,       but reliable."          The     initial     question         before     us is
                        whether        this basic         gatekeeping             obligation       applies       only to
                       "scientific"         testimony        or to all expert             testimony.        We,    like the
                        parties,      believe       that it applies          to all expert         testimony.


Kumho        Tire Co.,        Ltd. v. Carmichael,               526     u.s. 137,          147     (1999)       (internal        citations


omitted).


            The      ultimate       purpose        of the Court's            review       is to determine          the following:


                       To say this           is not to deny          the importance               of Daubert's
                       gatekeeping              requirement.          The objective              of that requirement
                       is to ensure          the reliability         and relevancy              of expert       testimony.
                       It is to make            certain     that an expert,           whether          basing     testimony
                       upon        professional           studies     or personal           experience,           employs
                       in the courtroom              the same          level      of intellectual         rigor that
                       characterizes             the practice         of an expert             in the relevant          field.


ld. at 152.       The Third           Circuit      in Montqomery                 County     v. Microvote           Corp.,        has explained:


                       The      Supreme          Court      concluded            that the inquiry          is a flexible
                       one,      but that trial courts              should       focus     "solely       on principles
                       and methodology,                   not on the conclusions                  they     generate."
                       However,         the Supreme             Court        has noted           that conclusions
                       and methodology                are not entirely              distinct      from    one another,
                       and that a "court             may      conclude            that there       is simply      too great
                       a gap between               the data         and the opinion              proffered."


Montgomery             County       v. Microvote            Corp.,     320 F.3d 440,              445-448         (3rd. Cir. 2003).


(Internal     citations         omitted).


            Senior      District     Judge        Ackerman           exhaustively           spelled       out the Third            Circuit's


jurisprudence            in terms       of experts:




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          The admissibility                 of "expert"       testimony            is a question       of law
          governed            by Rule        702 of the Federal                Rules     of Evidence            and
          the United           States        Supreme         Court's        decision      in Daubert           v.
          Merrell       Dow         Pharmaceuticals,                  Inc., 509     u.s. 579       (1993).
          When        faced         with    a challenge         to expert          testimony,       a court
          must       determine,             pursuant       to Rule        I 04(a)     of the Federal
          Rules       of Evidence             whether        the testimony            satisfies     the
          standard           of "evidentiary            reliability"      and whether           it will assist
          the trier      of fact to understand                  or determine            a fact in issue.


          Rule       702 provides             that where


          scientific,        technical,        or other       specialized            knowledge         will
          assist      the trier       of fact to understand                 the evidence           or to
          determine            a fact      in issue,      a witness         qualified       as an expert             by
          knowledge,             skill,     experience,         training,         or education,        may
          testify     thereto        in the form         of an opinion             or otherwise,        if (1 ) the
          testimony            is based       upon      sufficient        facts     or data,      (2) the
          testimony            is the product           of reliable        principles       and methods,
          and (3) the witness                  has applied             the principles         and methods
          reliably      to the facts          of the case.


          Fed.R.Evid.            702.


         "Rule       702       imposes        three      distinct       substantive         restrictions          on
          the admission               of expert        testimony:         qualifications,          reliability,
          and fit."        First,    the proffered           witness        must      be a qualified
          expert,       meaning            that the witness             must      possess       specialized
          expertise.         Second,          the testimony             must       be reliable.      This      has
          been       interpreted           to mean        that an "expert's             opinion      must       be
          based       on the 'methods                  and procedures               of science'       rather
          than      on 'subjective            belief     or unsupported              speculation;'            the
          expert      must       have       'good      grounds'         for his or her belief."               Third,
         the expert's           testimony           must     "fit,"    meaning        that "the      expert's
         testimony           must         be relevant       for the purposes              of the case           and
          must      assist      the trier of fact."


          Daubert        represents            the Supreme               Court's     definitive
         pronouncement                     on the nature         of a Rule          702 inquiry.          Daubert
         requires        courts        to perform          a "gatekeeping              function"      to ensure
         the relevance               and reliability         of expert         testimony,         and in
          Kumho         Tire     Company,           Ltd. v. Carmichael,                 526     u.s. 137
         (1999),        the Supreme             Court       extended           this gatekeeping
         obligation          from      scientific       evidence         to encompass              all expert
         testimony.            The Supreme              Court         in Daubert        and the Third
         Circuit      in Paoli        announced            factors       for courts       to consider           in


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          determining           whether         to admit      expert        testimony.          These
          factors      include:


          (1 ) whether         a method           consists        of a testable         hypothesis;               (2)
          whether       the method             has been           subject     to peer        review;        (3) the
          known        or potential        rate of error;           (4) the existence               and
          maintenance               of standards         controlling         the technique's
          operation;         (5) whether           the method          is generally            accepted;            (6)
          the relationship             of the technique             to methods           which          have
          been       established         to be reliable;           (7) the qualifications                 of the
          expert      witness        testifying      based         on the methodology;                    and (8)
          the non-judicial             uses     to which         the method           has been           put.


          This     list is "nonexclusive"               and "each           factor     need        not be
          applied      in every        case."       Rather,        the court         must      tailor     its
          inquiry      to the facts        of each       case       and "should           consider          the
          specific      factors       identified       in Daubert           where      they     are
          reasonable           measures           of the reliability          of the expert
          testimony."          The proponent               of expert        testimony          must
          establish         the admissibility           of the expert's              opinion       by a
          preponderance               of the evidence.


          In considering             the reliability       of an expert's             testimony,          the
          testimony          need      not be flawless            for it to be reliable             and
          admissible.          As the Third            Circuit      has recognized,


          [t]he    grounds          for the expert's         opinion         merely      have       to be
         good,       they     do not have          to be perfect.            The judge           might          think
         that there         are good          grounds      for an expert's              conclusion              even
          if the judge        thinks     that there        are better          grounds         for some
         alternative         conclusion,           and even         if the judge         thinks         that a
         scientist's        methodology             has some          flaws      such       that    if they        had
         been       corrected,         the scientist         would      have         reached        a different
         result.


         Furthermore,             the court's        role as a gatekeeper                   "is not
         intended        to serve        as a replacement               for the adversary
         system."        Fed.R.Evid.            702 advisory           committee's              note.      As the
         Supreme            Court     noted       in Daubert        "[v]igorous          cross-
         examination,             presentation          of contrary          evidence,          and careful
         instruction         on the burden             of proof      are the traditional                and
         appropriate           means       of attacking            shaky      but admissible
         evidence."


         However,           courts     need       not admit         bare     conclusions            or mere
         assumptions             proffered         under     the guise         of "expert          opinions.


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                    While       the inquiry         as to reliability         focuses      "solely      on principles
                    and methodology,                  not on the conclusions                  that they
                    generate,"          the Supreme             Court        has recognized            that
                    "conclusions           and methodology                   are not entirely          distinct     from
                    one another."              Accordingly,            when     making        a preliminary
                    determination            as to the admissibility                of expert        testimony,         a
                    court      must      engage        in limited        review     of an expert's
                    conclusions           "in order      to determine             whether       they     could
                    reliably     flow from          the facts        known      to the expert          and the
                    methodology             used."       If a logical         connection        between           the
                    facts      and the expert's              opinion      is lacking,      the expert's
                    testimony           is properly      excluded,           as the Supreme              Court      has
                    noted      in Joiner:


                    nothing        in either        Daubert         or the Federal       Rules         of Evidence
                    requires       a district        court    to admit        opinion    evidence             that is
                    connected           to existing          data    only by the ipse           dixit of the
                    expert.      A court       may      conclude         that there      is simply        too great
                    an analytical          gap between               the data      and the opinion
                    proffered.

Feit v. Great-West            Life and Annuity               Insurance         Company,         460      F.Supp.2d           632,      635-637
(D.N.J.    2006).      (Internal        citations      omitted).

          In the case        at bar, Defendant                Griefs      expert     report     Fully complies              with the


Supreme      Court's        dictates,      the Third         Circuit's       dictates,     and this       District's        dictates     as to


expert    reports    and Mr. Kapelsohn                  should         not be prohibited          from        testifying.




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                                                                   POINT      II

  WITH     THE       PROPER   LIMITING   INSTRUCTIONS  FROM THE COURT,   DEFENDANT
 GRIER         HAS    NO OBJECTION     TO THE SUBSEQUENT   DEATH OF fVIR. DRUMMOND
                                        BEING          DISCLOSED              TO THE       JURY.

         The     Brief   of the Government                  seeks    to introduce         the death    certificate      of Mr.

Drummond         "so that the jury will not be inclined                      to speculate        as to the reason        why the

Government           has not presented              the Victim's         testimony."       (Moving     Brief    at pg. 19).         The

Government           concedes        "the     Victim's      death    was      unrelated     to the Incident        and occurred

years    after the Incident."           (Moving          Brief   at pg. 22).

         While       Defendant        Grier      has no objection            to the subsequent         death       of Mr.

Drummond         being     disclosed         to the jury,        same      should      be done     by way      of limiting

instructions     from    the Court.           For example,           Mr. Drummond            should    not be referenced             as

"the Victim"     in any such          limiting      instruction.         Additionally,      any such    limiting      instruction

should    make       it abundantly          clear    that   Mr. Drummond's               death   was   in no way       related      to

the Incident     and was         in no way          accelerated          by the Incident.




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                                                               POINT           Ill


GIVEN       THE     SUBSEQUENT                  DEATH         OF MR DRUMMOND,                             ALLOWING                     SUBMISSION
      OF THE       INDICTMENT    TO THE JURY WOULD   AMOUNT                                                 TO A VIOLATION                       OF
                       DEFENDANT    GRIER'S SIXTH AMENDMENT                                                  RIGHTS.


           The    Court     should     exercise        its discretion          not to submit             the Indictment                 to the jury       in


this matter.       It is understood          that the Indictment                 handed         down        in this matter              was     based,


in part,    on the testimony           of Mr. Drummond.                   It further         is obvious          that neither            Defendant


Grier     nor a representative             on his behalf        was       invited          to the Grand           Jury         proceedings           to


cross-examine          the witnesses            presented       by the Government,                        which         included         Mr.


Drummond.           Finally,      as the Court         sees    from       the Moving             Brief    and the previous                    Point


Heading,         Mr. Drummond             has since        passed      away           from    unrelated          circumstances.


           To allow       the jury    to view      the Indictment            of Defendant                Grier     in this matter              given


the above        circumstances            would      be an affront         to the Confrontation                     Clause.             The Sixth


Amendment's           Confrontation          Clause        provides        that:


                    [i]n all criminal        prosecutions,           the accused               shall     enjoy          the
                    right...      to be confronted            with the witnesses                  against         him.


The     United    States       Supreme       Court        has held that this bedrock                      procedural               guarantee


applies     to both federal          and state       prosecutions.             Pointer         v. Texas,          380         u.s. 400,        406


(1965).


           The Supreme            Court     noted:


                    [The       Confrontation         Clause}        applies          to "witnesses"          against
                    the accused-in                other    words,     those           who "bear          testimony."               2
                    N. Webster,           An American          Dictionary              of the English
                    Language          (1828).        "Testimony,"           in turn,         is typically        "[a]
                    solemn        declaration        or affirmation            made          for the purpose                  of
                    establishing          or proving        some      fact."         lbid.    An accuser            who
                    makes        a formal       statement       to government                  officers      bears
                    testimony         in a sense          that a person              who     makes       a casual
                    remark        to an acquaintance             does        not.        The constitutional                    text,


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                        like the history           underlying        the common-law              right of
                        confrontation,          thus    reflects      an especially           acute     concern        with
                        a specific      type       of out-of-court        statement.


Crawford        v. Washinqton,               541    u.s. 36, 51 (2004).

            Since      the Indictment           in question          bears,     in part,     on the testimony            of Mr.


Drummond,              allowing      the jury to view           it as part of its deliberations                 would     be an


evisceration           of Defendant          Grier's        Sixth    Amendment           Rights.


                                                                     POINT       IV


   THE       GOVERNMENT'S                    ATTEMPT                TO USE       PRIOR        GRAND        JURY         TESanMONY              IS
    DELIBERATELY                    VAGUE           AND      SHOULD            BE ADDRESSED                    ON A WITNESS-BY                  -
                                                             WITNESS           BASIS.


            At one point           in its submission,           the Government               says     it will not be presenting                Mr.


Drummond's              testimony       to the jury         given     his death.         (Moving       Brief    at pg. 19).          However,


its Point     Heading         on attempting            to use prior       grand       jury    testimony        fails to mention          Mr.


Drummond            at all.    By failing       to exclude           Mr. Drummond             from     its application,         Defendant


Grier    is leery       of the motive          in the Government                making       this particular        in limine        motion.


            Clearly,      any attempt          by the Government                 to directly       or indirectly        offer   as


substantive         evidence          the Grand        Jury testimony             of Mr. Drummond               would         be an even


more     blatant       violation      Defendant         Grier's       Sixth     Amendment             Rights    than     seeking       to let the


jury view      the Indictment.


            Defendant         Grier     submits        that individual          witnesses       purportedly          answering


elusively      or individual          witnesses        purportedly            claiming       memory       loss can be managed                   on


a witness-by-witness                 basis     as opposed            to the Court        entering       some       sort of a generic


order    on the use of prior             grand       jury    testimony.




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                                                                           POINT          V


            ANY       PRECLUSION                       TO REFERENCING                         POSSIBLE             PUNISHMENT                 OR
     COLLATERAL                  CONSEQUENCES                            OF CONVICTION                       SHOULD             BE NARROWLY
                                                                        TAILORED.


           While      Defendant                Grier     does     not necessarily               contest        his inability       to reference


possible     punishment                or collateral            consequences                  of conviction         stemming         from      the

Indictment         at issue,       such         a bar should             not include:


                      a.     The       lack of a prosecution                     of Defendant            Grier      in State


                             Court        stemming              from     the Incident;


                      b.     The       lack of prosecution                     of Defendant            Grier     in Municipal


                             Court        stemming              from     the Incident;           or


                      c.     The       results         of any Internal            Affairs       investigation           of


                             Defendant                 Grier    stemming              from    the Incident.


                                                                          POINT          Vl


  ANY      PRECLUSION                   TO LAW                 ENFORCEMENT                     OFFICERS             NOT        BEING        ALLOWED
                   TO WEAR                UNIFORMS                SHOULD                BE NARROWLY                     TAILORED.


           The Government                      seeks      to bar all law enforcement                         officers        in the gallery     from


wearing      police        uniforms            during      the trial.          Defendant         Grier       submits         that any universal            ban


would      be excessive            and overly              punitive.           Clearly,       any law enforcement                  officers     taking


the day off to attend               trial or attending                 trial    on a previously              scheduled          day off could         be


ordered      not to attend             trial     in uniform.


           However,          such       a ban should              not apply            to any law enforcement                     officer     who    is


coming      to court        directly       after        completing             his or her shift         of employment.               Likewise,        such


a ban should          not apply           to any law enforcement                          officer      who     is attending         court     and then


directly    reporting        to his or her shift                 of employment                 after    a partial       or full day of attending


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court     proceedings.        Neither      spectators       nor supporters         should       be unduly     deprived           of their


ability    to attend     a public    trial by being        delayed      due to a forced         change      of attire.


                                                            POINT        Vll


THE       ISSUE    OF WITNESS              HOSTILITY         SHOULD             BE MANAGED               ON CASE-BY-CASE
                                                             BASIS.


           The Government            states    it "is not seeking          a declaration        before    trial that any of the


police     witnesses      are hostile"      that    it intends     to call.     (Moving     Brief    at pg. 19).         Yet,    it


goes      on for two full pages          of legal    argument          as to why    it should     be allowed          to treat


police     witnesses      as hostile       under    the Federal         Rules    of Evidence.        As Defendant               Grier


pointed     out in his Preliminary            Statement,         a majority     of the Government's            Motions           are


based      on nothing      other    than    pure    speculation         and conjecture          of what    it fears     may


happen      at the time      of trial.     When,      and if, a witness         is perceived        by the Government                  to


be hostile,     the Court      is well     equipped      to deal with that         issue    at the time      it arises.




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                                                                   POINT          Vlll


 THE        ISSUE     OF CHARACTER                      WITNESSES                 SHOULD             BE MANAGED              ON CASE-BY                  -
                                                                 CASE        BASIS.


            As to character            witnesses,          the Government                  goes      on for seven        pages       discussing:


                      a.    What        it "anticipates"         (Moving          Brief     at pg. 6); and
                      b.    What        it "believes"        (Moving         Brief at pg. 6).


It then     seeks     to have        the Court         undertake          a theoretical           exercise      trying    to cover         every


conceivable          scenario         that     could    arise     at trial when            it comes     to character         evidence.


            Rather    than         undertake        such     an esoteric            exercise,        the Court     should         simply       require


that Defendant             Grier     make       a proffer       as to his character               witnesses        by a date         certain       and


then    address       specific        concerns         of the Government                    at that time.


                                                                   POINT            IX


    LAY      WITNESSES                SHOULD              NOT     BE ALLOWED                   TO INFRINGE               UPON        EXPERT
                                                                 TESTIMONY.


            At one point           the Government               posits     "[t]he        witnesses      at issue     here        are not


experts,      but are fact witnesses                   who    were       on the scene             and were       actively        participating       in


Drummond's           arrest        when       the Defendant            pepper-sprayed                him.       (Moving      Brief     at pg. I 5).


Yet, earlier        in the same           point    heading,        the Government                 admitted       it seeks        an order


allowing      BPD officers           "to offer      opinions        about         the Defendant's            use of force          and any


resulting     medical        injuries         sustained      by the victim.                (Moving      Brief    at pgs. 13-14).


            As with most           of the Government's                   Brief,     the generic        terms     "use     of force"        and "any


resulting     medical        injuries"        are unduly         vague       and open           to interpretation.          Defendant            Grier


concedes       that BPD            officers       are and were           trained         to make      observations,         memorialize


those     observations,            and sometimes                must     recall     those      observations          in trial.     Thus,




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Defendant           Grier   takes    no issue         with the Government                  asking      any BPD         officers      what     they


observed        on the date         of the Incident.


            However,        it is patently      unfair       to simply     allow         a generic      order       concerning       "any


resulting      medical       injuries"      to be allowed          as to lay witnesses.                There        is a huge       difference


between        a responding          BPD      officer     saying      that "Mr.          Drummond's          eyes      were       running"         or


that "Mr.      Drummond            was     coughing       for a few seconds"                versus      offering       an opinion        on


diagnosis,       treatment,         or prognosis          on "any      resulting         medical       injuries."


            Similarly,      when     it comes        to "use     of force",        there    is a material           difference      to a BPD


officer     saying     "I observed          Defendant         Grier    do X for Y seconds"                 or 'l heard           Defendant


Grier     say Z as he did A, B. and C" versus                         eliciting     from     that same          BPD     officer     an


opinion      on "excessiveness"               of something            undertaken           by Defendant             Grier   or eliciting       an


opinion      that something              undertaken       by Defendant             Grief "was        contrary         to New       Jersey


Attorney      General        Guidelines."


           Again,      rather    than      provide      the Government              with     blanket      permission          to seek        lay


witness      opinion,       the Court       would       be better      served       by requiring         the Government               to make


a proffer     as to what         lay opinions         they    seek     from       what     lay witnesses            and manage           them

on a case-by-case               basis.




                                                                      14
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                                                      POINT        X


THE COURT         SHOULD        HOLD        A CASE     MANAGEMENT                   CONFERENCE            TO DISCUSS
     PROFFERS,          RECIPROCAL           DISCOVERY,             AS WELL          AS OTHER           PERTINENT
                                         ISSUES      JN THIS        MATTER.


         My office    does    not dispute     that the Government             is entitled      to reciprocal    discovery


to the extent    it exists.   Given    a recent     outbreak       of Covid    within       my office   that   resulted     in


me being    out of the office       for several   weeks,        I think   it would   be beneficial       for the Court


to hold a Case       Management        Conference       to discuss        various     issues     in this matter     as well


as the current    trial schedule.


                                                       Respectfully         submitted,




                                                                  RT J. ALTERMAN


Dated:   September       16, 2022




                                                           15
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                  EXHIBIT                          A
                 Case 1:21-cr-00524-JHR Document 24 Filed 09/16/22 Page 17 of 23 PageID: 114


 Cristin           Morris

 From:                                                         Cristin    Morris
 Sent:                                                         Friday,    August     19, 2022    5:36 PM
 To:                                                           Richardson,         Jason   (USANJ);   Stuart   Alterman
 Cc:                                                           Harteis,    Lindsey     (USANJ)
 Subject:                                                      RE: USA v. Grier




 Thank you Mr. Richardson. I will have our expert reports etc filed in PACER next week. Mr. Alterman is out of office
 currently         but wanted           to get you same             asap.


 Have a nice weekend.


 Cristin        Morris,       Legal   Assistant
ALTERMAN                  & ASSOCIATES,                 LLC
 cmorris(oi,alterman-law.com


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From:       Richardson,            Jason      (USANJ)        <Jason.Richardson@usdoj.gov>
Sent:      Friday,        August      19,    2022     5:27     PM
To:    Stuart Alterman <SAlterman@Alterman-Iaw.com>
Cc: Harteis, Lindsey (USANJ) <Lindsey.Harteis@usdoj.gov>;                                        Cristin   Morris   <cmorris@ALTERMAN-LAW.COM>
Subject:         USA v. Grier



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Stuart,

                                                                                                  1
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Attached       please   find   a copy      of the   Motions   in Limine,   along   with   the exhibits,   which   were   filed   today.   Please   let me
know       if you have any questions.


Thanks,      jason


Jason      M. Richardson
Assistant   u.s. Attorney
u.s. Attorney's    Office
District    of New Jersey
u.s. Post Office        and Courthouse
401 Market       Street,     4th   Floor
Camden,       New Jersey       08101
856-757-5026
856-968-4817         (faX)
Case 1:21-cr-00524-JHR Document 24 Filed 09/16/22 Page 19 of 23 PageID: 116




                  EXHIBIT                           B
            Case 1:21-cr-00524-JHR Document 24 Filed 09/16/22 Page 20 of 23 PageID: 117


 Cristin       Morris


 From:                                              Cristin    Morris
Sent:                                               Friday, September           16, 2022 10:48 AM
To:                                                 Richardson,      Jason (USANJ)
Cc:                                                 Stuart Alterman
Subject:                                            USA v. John Grier, Ill, Crim. 21-524                   (JHR)
Attachments:                                        Grier Expert Report.pdf;             Curriculum        Vitae - EK - 3-9-22         - for merge.pdf



Mr. Richardson:


In preparing       responses        to your Motion,           please find attached            our expert      report     and CV in this matter.


I do apologize as I thought that I had emailed same to you back on 08/19/22.                                            I must NOT have attached the report
inadvertently.


Thank you.


Cristin Morris, Legal Assistant
ALTERMAN       & ASSOCIATES,                  LLC
cmorris@alterman-Iaw.com

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                                                                                          1
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                  EXHIBIT                          C
                  Case 1:21-cr-00524-JHR Document 24 Filed 09/16/22 Page 22 of 23 PageID: 119



 Arthur           J. Murray


 From:                                                     Cristin      Morris
 Sent:                                                     Friday,      September          16, 2022 10:54         AM
 To:                                                       Arthur      J. Murray
 Subject:                                                  FW: USA v. John               Grier,    Ill, Crim.   21-524     (JHR)




 From:      Richardson,         Jason     (USANJ)        <Jason.Richardson@usdoj.gov>
 Sent:     Friday,     September          16,   2022 10:53            AM
To: Cristin         Morris     <cmorris@ALTERMAN-LAW.COM>
 Cc: Stuart Alterman              <SAlterman@Alterman-Iaw.com>;                               Harteis,       Lindsey     (USANJ)     <Lindsey.Harteis@usdoj.gov>
Subject:       RE: USA v. John            Grier,    Ill, Crim.        21-524       (JHR)



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Ms. Morris,


You did send it to me back in August.                             We wrote our motion prior to receiving your email since it was due June 30.

Thank       you for following           up.


Jason



From: Cristin Morris <cmorris@ALTERMAN-LAW.COM>
Sent:     Friday,     September         16,     2022 10:48           AM

To: Richardson, Jason (USANJ) <JRichardson@usa.doj.gov>
Cc: Stuart Alterman <SAlterman@Alterman-law.com>
Subject:      [EXTERNAL]          USA v. John            Grier,      Ill, Crim.     21-524        (JHR)


Mr.     Richardson:


In preparing          responses      to your        Motion,          please       find   attached         our expert     report    and CV in this   matter.


I do apologize as Ithought                  thatI    had emailed same to you back on 08/19/22.                                     I must NOT have attached        the   report
inadvertently.


Thank      you.


Cristin     Morris,    Legal    Assistant
ALTERMAN              & ASSOCIATES,                LLC
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